                                                                       cuzax'soizplce .
                                                                              AT R u s,Dlsm cotlv
                                                                                  OANOKE,VA
                       IN TilE UN ITED STA TES DISTRICT COURT                      FI
                                                                                    LED
                      FOR THE W ESTERN D ISTRICT OF VIRGINIA                   22T 19 2218
                             CHA RLOTTESV ILLE DIVISION
                                                                          JULIA C.
                                                                          Y:            , CLERK
V ICTOR M ACEO DAN DM DG E,111,                                                               .
                                                                                 PU ..CLERK
       Appellant,                                CivilA ction N o.3:18CV 00051

                                                 M EM O RA ND UM OPINIO N

w .STEPHEN SCOTT ,CHAPTER 7                      By:H on.G len E.Conrad
TRU STEE FOR TH E BAN KRUPTY                     SeniorUnited StatesD istrictJudge
ESTATE OF V ICTOR M A CEO
DAN DRIDGE,111,etal.,

       Appellees.


       Victor M aceo Dandridge,111,proceeding pro K ,Gled this appealfrom an order entered
                                                   .




by the United States Bankruptcy Court for the W estern D istrict of V irginia, in w hich the

bankruptcy courtapproved a settlement agreement between W .Stephen Scott the Chapter 7

Trustee(CTrustee'),andThompsonDavis& Co,lnc.(frfhompsonDavis'). Forthefollowing
reasons,theappealw illbe dism issed forlack ofstanding.

                                       Backeround

       On M arch 24,2017,D andridge filed a voluntary petition forreliefunder Chapter7 ofthe

Bankruptcy Code. ln the petition,Dandridge indicated that his totalfiabilities exceeded his

assetsby $2,726,540.00. SeeIn reDandridge,No.6:17+k-60578 tBankr.W .D.Va.Mar.24,
2017)(listing totalassetsin the amountof$220,562.00 and totalliabilities in the amountof
$2,947,102.00). Dandridge also indicated that he had been named as a defendant in
$6,000,000.00 lawsuitfiled byLynneKinder,which remainedpending.
       D andridge wasa m em berofThompson Davis,an investm entm anagem entfirm based in

Richm ond,V irginia. H e w as involved in severallong-running schem es to divert assets from




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K inder and others. On June 13,2017, K inder ûled an adversary complaint seeking entry of

judgmentin favorofKinderandagainstDandridge,and adetermination thatsuchjudgmentis
notdischargeable in banlcruptcy. On July 17,2017,the bankruptcy courtentered a consentorder

awardingjudgmenttoKinderintheamountof$6,000,000.00 anddeclaring thejudgmentnon-
dischargeable. Tw o days later,Dandridge pled guilty to federalcrim inalcharges stem m ing from

his fraudulentactions. He is currently serving an 84-m onth sentence ofimprisonm ent.

       OnJune1,2018,theTrustee,bycounsel,filedamotionforentryofanorder(1)granting
the Trustee authority to accept a settlem entw ith Thompson D avis pursuantto FederalRule of

BankruptcyProcedure9019(a);(2)granting theTrusteeauthorityto sellcertain property ofthe
estatefreeand clearofallliens,claims,rights,and interestspursuantto 11U.S.C.jj 105 and
363; (3) granting interim allowance and authorization of payment of compensation and
reimbursement of expenses from the settlementproceeds to the Trustee's counsel;and (4)
granting related relief,nam ely approvalofthe settlem entagreem entwith Thom pson D avis. The

settlemeptagreementprovided for,amongotherthings,thepaym entof$65,000.00 by Thompson

DavistotheTrusteeandthetransferandassignmentby theTrusteeofthefollowingassets:(a)
the debtor's shares ofcom m on stock in Thom pson Davisto Thom pson Davisand/orone orm ore

ofThompson Davis'sshareholders,atthe election ofThompson Davis;(b)the debtor'sfsfty
percentinterestin acertain Thom pson Davis accountowned by Seven H illsCapitalM anagem ent

LLC (isevenHills'')to Seven Hills;and (c)thedebtor'ssix-tenthsofonepercentmembership
interestin BarrettHouse Partners,LLC (ttBarrettHouse'')to BarrettHouse. The settlement
agreement further provided thattsltjhe Trustee shallexecute and deliveral1necessary and
appropriatedocumentstoeffectuatethetransferandassignmentofthe(ThompsonDavisqStock,
Seven HillsAccount,and BarrettHouselnterestwithin (5)daysaftertheCourtentersafinal




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order approving this Agreem ent and authorizing the transfers set fol'th herein.'' Settlement

Agreement!5,Dkt.No.2-1.
       On June 11,2018,D andridge filed a pro K     .    objection to the Trustee'smotion. The
bankruptcy court held a hearing on the m otion on Junet 21, 2018. On June 22,2018, the

bankruptcy courtentered an order granting the Trustee'smotion and approving the settlement

agreementwithThompsonDavis(theçtsettlementOrder'').
       On July 6,2018,D andridge filed a notice ofappealofthe Settlem entOrder. The appeal

was docketed in this courton July 9, 2018. The Trustee subsequently m oved to dism iss the

appeal on m ultiple grounds, including lack of standing. The Trustee's m otion has been fully

briefed and isripe fordecision.

                                           D iscussion

       A s a threshold m atter,the court must determ ine w hether D andridge has the necessary

standing to bring this appeal. lsstanding in a bankruptcy appeal is narrower than Article I11

standing.''Peoplesv.Radloff.764F.3d817,820(8thCir.2014).&çTohavestandingtoappeala
bankruptcy order, the appellant m ust be a Gperson aggrieved' by the order, that is a person

 Gdirectly and adversely affectedpecuniarily.''' Rantav.Gorman,721F.3d 241,248n.10 (4th
Cir.2013)(quotingW hitev.UnivisionofVa.Inc.,401F.3d236,243-44(4thCir.2005:.
       W hen a debtor tsles a Chapter 7 bankruptcy petition,the'debtor's assets,including his

interests in any existing causes of action,.becom e the property of the bankruptcy estate. 11

U.S.C.j541(a);seealso Grayson Consulting.Inc.v.W achoviaSec..lnc.,716 F.3d 355,367
        )
(4th Cir.2013). G%y virtue of j 541,debtors,particularly chapter7 debtors,rarely have a
pecuniary interest''in the adm inistration of the bankruptcy estate,since dthow the estate's assets

are disbursed by the trustee hasno pecuniary effecton the debtor.'' Peoples,764 F.3d at820;see




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also W illemain v.Kivitz,764 F.2d 1019, 1022 (4th Cir.1985) (explaining that Etsince the
bankrupt is norm ally insolvent, he is considered to have no interest in how his assets are

distributed among his creditorsand isheld notto be aparty in interesf')(citation omitted).
lnstead,as a generalm atter,SGthe trustee alone hasstanding to raise issues before the bankruptcy

courtand to prosecute appeals,''since the tnlstee is the representative of the bankruptcy estate

and has the capacity to sue or be sued. Ri
                                         chmanv.FirstW oman'sBank,104F.3d654,657(4th
Cir.1997).
       A num berofcourts,including the United States CourtofAppealsforthe Fourth Circuit,

have recognized an tçtexception'to the rule thatdebtors do nothave standing to objectto
                                                               )
banknlptcy orders,which is notso m uch an exception as a carefulapplication ofthe pecuniary

interestrule itself.'' CultAwarenessNetwork.Inc.v.Martino,151F.3d 605,608 (7th Cir.
1998). Specifkally,GGgijfthe debtor can show a reasonable possibility of a surplus after
satisfyinga11debts,thenthedebtorhasshownapecuniaryinterestandhasstandingtoobjed toa
bankruptcyorder.''ld.;seealsoW illemain,764F.2dat1022-23(applyingthisgeneralprinciple
and concluding that a Chapter 7 debtor lacked standing to challenge the proposed sale ofthe

estate's prim ary assetbecause the debtor failed to show thatan alternative sale of the property

wouldretul.
          n solvencytotheestateorprovidethedebtorwithasurplus);Licatav.Coan,659F.
App'x 704,706 (2d Cir.2016) (emphasizing thatGEthe Chapter 7 debtor hasthe burden of
showingthatthereisatleastareasonablepossibilityofasurplus''inordertoestablishstanding).
       In this case, it is clear from the record that the bankruptcy estate is insolvent.

Dandridge'sliabilitiesfarexceedhisassets,andhis$6,000,000.00judgmentdebttoKinderhas
been declared non-dischargeable. A lthough Dandridge m aintains that his shares of comm on

stock in Thompson Davis were worth m ore than the fil'm was required to pay as part of the


                                               4

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settlementw eementDandridgedoesnotasselt muchlessplausiblysàow,thatanaltemaive
Y etmentcould have been reached tbatwould have rendexd the estate solvent. LlkeW se,

Dandridgedoesnotidenffy any otherbasisforllnding1 atthereisareasonablepossibility ofa
                                    .




surplusO erallof the creditors'clnlmK are pid. Consequently,Dandridge hasno pectmlary

lnlrestin theSettlementOrderandtherefore lacksstandingto pm suethisappeal. SeePeoples.

764F.3dat820-21(concllldlngthatadebtordldnothaveKfnndingtoappealanorderapproving
a settlement between tlle M qtee and the debtor's employer,shce the amount owed to the

debtor'screditorsexceedH tke amountofthe settltmentand ierewasno reasonable possibillty

ofasurplusl.
                                        Conclusios

      For the reasons ssatedythe courtconcludesthatthis appealâom the bnnkmlptcy court'

mustbedismlssed forlack ofstanding.* Accore gly,the courtw111granttheTa stee'smoion

to dismijs. The Clerk is directed to send copiestof thlq memorandum opiaion and the

accompu ying od ertotheappellantandallcounselofrecord.
      DATED:TMs%h* dayofOctober, 2018.


                                            SeniorUnlted StatesDisd ctJudge




       *h liltoftbecoM 'sn'rmgontheismeofstanding,thecourtneeânotaddiessthepaGes'ra nining



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